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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                 CASE NO.    19-20178-CR-ALTONAGA/GOODMAN


  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  IVAN ACEVEDO,

         Defendant.
                                     /

        DEFENDANT ACEVEDO’S MOTION TO REINSTATE BOND

         Ivan Acevedo, by and through undersigned counsel hereby moves

  this Honorable Court to reinstate his bond in this matter and states:

         On April 4, 2019, Mr. Acevedo was charged by indictment with one

  count of conspiracy to commit mail fraud and one count of mail fraud.

  [DE 3]. On April 11, 2019, Mr. Acevdeo made his initial appearance in

  Los Angeles and he was released on a $100,000 personal surety bond.

  [Central District of California, case 19-mj-01481-DUTY-1, DE 4]. On

  April 25, 2019, Mr. Acevedo made his initial appearance in the Southern

  District of Florida, where the magistrate set a $100,000 personal surety

  bond to be cosigned by Mr. Acevedo’s mother as well as other special
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  conditions. [DE 20].

        Mr. Acevedo has been on bond since his initial appearance in

  California.    Mr. Acevedo has appeared by video teleconference or by

  telephone on several occasions.1 According to the probation officer, Mr.

  Acevedo had been complying with his reporting requirements, and been

  employed and was residing with his parents.

        On September 17, 2020, US Probation filed a Petition for Action on

  Conditions of Pretrial Release and an arrest warrant.           The petition

  noted that Mr. Acevedo tested positive for the presence of marijuana on

  four occasions in January and February of 2019.         Mr. Acevedo tested

  positive again on March 10, 2020 and admitted to having used CBD

  products.     Following those positive tests, Mr. Acevedo was referred to

  outpatient drug treatment which Mr. Acevedo successfully completed.

  He remained drug-free until he relapsed at the end of August.

        Mr. Acevedo has been suffering from undiagnosed (until recently)

  and untreated anxiety and depression.        The pending charges and his

  inability to find employment placed enormous stress on Mr. Acevedo.


  1 In one instance, due to a miscommunication regarding whether the hearing was
  scheduled for 1:30 EST or PST, Mr. Acevedo appeared via telephone rather than
  appearing via video.
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  Unfortunately, in December 2019, Mr. Acevedo’s father passed away

  unexpected from a stroke. The added stress of Mr. Acevedo’s father’s

  death proved to be too much for Mr. Acevedo to bear and he began to

  suffer from insomnia and he began to use marijuana to treat it.       After

  the initial period of positive tests, Mr. Acevedo was referred to and

  attended drug treatment.        Mr. Acevedo successfully completed his

  treatment and was able to abstain from using marijuana. After

  completing treatment, however, Mr. Acevedo continued to suffer from

  stress, depression and anxiety. He sought treatment from a doctor in

  California who prescribed medical marijuana. After conferring with Mr.

  Acevedo, defense counsel did not to seek permission from the Court to

  allow Mr. Acevedo to use marijuana and Mr. Acevedo continued his

  efforts to abstain. Unfortunately, Mr. Acevedo relapsed.

        Since his initial release, Mr. Acevedo resided with his mother and

  until his death, his father.   According to Mr. Acevedo’s sister, Christina,

  Mr. Acevedo has been assisting his 72 year old mother during this

  difficult time.   Mr. Acevedo’s sister, who is a licensed clinical social

  worker, asked counsel to convey to the court that Mr. Acevedo has been

  very supportive of their mother and that his presence has been helping
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  her through the grieving process.         This process has obviously         been

  substantially more difficult by the requirement for social distancing

  which limits her ability to be consoled by other family members and

  friends.   Mr. Acevedo clearly has issues with stress and anxiety, and

  with substance abuse.      He attended drug treatment as required and was

  successful for a time in abstaining from use.      Mr. Acevedo is not a danger

  to the community.       According to the pretrial services report from the

  Southern District of Florida, Mr. Acevedo has no prior contacts with the

  criminal justice system. The instant case is not a violent offense.

        In an effort to ensure that Mr. Acevedo deals with his substance

  abuse issues and continues to comply with the other conditions of release,

  the defense proposes that Mr. Acevedo be released under the same bond

  as the Court imposed initially2, but with additional special conditions

      Mr. Acevedo attend substance abuse treatment until further order

        of the court.

      Mr. Acevedo be placed on a curfew to be determined by the Court.


  Mr. Acevedo is willing to wear a GPS monitor to insure compliance with


  2 Mr. Acevedo’s family informed counsel that they do not have the means to post a
  cash bond or to obtain a surety bond.
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  the Court’s conditions should the Court deem it appropriate.

        Undersigned counsel has conferred with AUSA Roger Cruz who has

  stated that the Government will defer to the judgment of the Court on

  this issue.

        For the foregoing reasons, Mr. Acevedo urges the Court to reinstate

  his bond as outlined above.

                         Respectfully Submitted,

                         MICHAEL CARUSO
                         FEDERAL PUBLIC DEFENDER

                         BY:       s/R. D’Arsey Houlihan
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                       CERTIFICATE OF SERVICE

         I HEREBY certify that on November 23, 2020, I electronically
  filed the foregoing document with the Clerk of the Court using CM/ECF.
  I also certify that the foregoing document is being served this day on all
  counsel of record via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices
  of Electronic Filing.


                                     s/R. D’Arsey Houlihan
                                      R. D’Arsey Houlihan




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